                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
     Plaintiff,                                  )
                                                 )    Case No.: 2:19-cr-00013
v.                                               )
                                                 )    Chief Judge Waverly D. Crenshaw, Jr.
GEORGIANNA A.M. GIAMPIETRO                       )
    Defendant.                                   )


           DEFENDANT’S REPLY IN SUPPORT OF HER MOTION FOR A
       DAUBERT HEARING PRIOR TO ADMISSION OF CATHERINE SCHRECK

        Whether this Court should permit Catherine Schreck to testify as an expert in this case boils

down to two questions:

        1. Is Ms. Schreck qualified to testify about how certain entities use the internet to solicit
           funds for terrorist organizations?

        2. Are the methods employed by Ms. Schreck and the SITE Intelligence Group reliable?

Both questions require a Daubert hearing.

                                       QUALIFICATIONS

        In its opposition to Ms. Giampietro’s motion, the government takes pains to exaggerate the

qualifications and experience of Catherine Schreck. And it uses the status and research of Ms.

Schreck’s employer, for whom she has only worked three years, as a substitute for her own

expertise. But proximity to expertise does not qualify a witness as an expert herself. Based on the

information provided to date, Ms. Schreck is not qualified to testify about “how [entities like The

Merciful Hands and Alsadaqah] operate on the Internet to solicit funds and other support for

foreign fighters affiliated with FTOs.” Opp’n 7. This Court should hold a Daubert hearing so that

the defense and the Court may scrutinize whether Ms. Schreck has the necessary qualifications or

whether she is a mere stand-in for her employer, SITE Intelligence Group and Rita Katz.

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           The law regarding expert qualifications is clear. Ms. Giampietro agrees with the

government that the relevant issue is whether Ms. Schreck’s qualifications “provide a foundation

for [her] to answer a specific question.” Berry v. City of Detroit, 25 F.3d 1342, 1351 (6th Cir.

1994) (emphasis added); 29 CHARLES A. WRIGHT ET AL., FEDERAL PRACTICE & PROCEDURE §

6265 (1977) (noting that “qualification to testify as an expert [] requires that the area of the

witness’s competence matches the subject matter of the witness’s testimony”).

           On November 5, 2021, the government submitted Ms. Schreck’s CV, which states that she

has “over three years of experience in open-source intelligence, data collection, documentation,

and interpretation.” Catherine T. Schreck CV, Doc. 316.1. In the government’s opposition,

however, Ms. Schreck now “has over ten years of combined educational and employment

experience related to her proposed areas of testimony in this case, namely opensource intelligence,

data collection, documentation, and interpretation of terrorist communications, with a focus on al-

Qaeda in Syria and the Middle East.” Opp’n 6. This vague and misleading characterization, also

repeated in the SITE Report1 submitted last week, does not reflect the actual education and

experience described in Ms. Schreck’s CV. A careful review of her CV shows that she does not

have the necessary foundation to answer the specific questions the government proposes.

           Ms. Schreck graduated with a BA in International Affairs in 2010. Doc. 316.1. During

college she interned in the Iraqi Embassy and the Jordanian Interfaith Coexistence Research

Centre. Id. As an intern at the Embassy (for six months), she researched the topics of “health and

education in Iraq and Iraqi students in the United States.” Id. As an intern at the Jordanian Research

Centre, she assisted with creating proposals for interfaith conferences and researched various

interfaith projects. Id. In contrast to the government’s claim, there is no evidence that Ms. Schreck


1
    The full name of the report is “Testimony by Catherine Schreck of the SITE Intelligence Group”.

                                                          2

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obtained any particular knowledge about extremism, terrorist organizations, or jihadist activities

online while she was an undergraduate. See Opp’n 6.

           Ms. Schreck obtained an MA in International Relations in 2014. Doc 316.1. The

government claims that she “concentrated her studies on the Iraq Wars as well as security issues

in the region.” Opp’n 6. Her CV does not reflect any concentration; the defense is simply left to

take the government’s word for it. During the time that she was presumably working on her MA,

she worked as an “International Media Editor” with Kantar Media. Doc 316.1. Her CV states that

in this role she performed “commercial media analysis, research, reportage, and translation” in

various languages. Id. From her description alone, it is difficult to determine what Ms. Schreck

actually did at Kantar, and the defense has been unable to find any other employees from Kantar

with that title to understand the knowledge and skill it requires.

           Ms. Schreck’s CV contains a five and a half year gap in employment after Kantar and

before SITE. Doc. 316.1. During that time, she obtained her MS in Empires, Colonialism and

Globalisation.”2 Id. Her dissertation was titled, The Djebel Druze and the Great Syrian Revolt,

1925-1927.3 Id. The defense has been unable to locate a copy of this document or to determine

whether it was published or peer reviewed.4 Her LinkedIn account fills the employment gap,

indicating that from May 2016 until July 2018, Ms. Schreck worked as a “Program Manager” for

the African Education Program, a nonprofit that promotes scholarships and education to Zambian

youth. Catherine Schreck, LINKEDIN, https://www.linkedin.com/in/catherineschreck/ (last visited

2
  According to the London School of Economics and Political Science website, a Masters in Empires, Colonialism &
Globalisation “focuses on the history of the non-European world through the study of imperialism, colonialism and
the forces that have brought about globalization.” Graduate Programmes, LONDON SCH.OF ECON. & POL. SCI.,
https://www.lse.ac.uk/study-at-lse/Graduate/degree-programmes-2022/MSc-Empires-Colonialism-and-Globalisation
(last visited Jan 7. 2022).
3
    Based on its title, her dissertation focused on a revolt in French-controlled territories in Syria in the late 1920s.
4
  Her CV identifies, and the defense can find, no peer reviewed publications, articles, books, or presentations
attributable to Ms. Schreck.

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Jan. 7, 2021). In that role, she primarily created social media marketing campaigns to obtain

donations and managed the organization’s social media platforms. Id. There is no evidence that

this work involved terrorist groups or jihadist online activity.

         Nothing in Ms. Schreck’s CV, LinkedIn, or other online presence suggests that she had any

experience or knowledge relating to “jihadi online networks” until after she began working at SITE

in July 2018. Nowhere in her CV or her LinkedIn does she describe her educational specialization

or experience as “security studies,” or “extremist Islam,” or “al-Qaeda in Syria and the Middle

East” as the government proclaims. Thus, the government’s conclusion that “by the time she joined

SITE Intelligence Group in 2018, Ms. Schreck was well versed in jihadist activities and the

numerous organizations operating in the Middle East and their online and social media

infrastructure” is simply unsupported by the information provided to the Court and the defense.5

         The SITE Report spends considerable time discussing the background and methodology of

SITE and Rita Katz.6 SITE Report at 2-3. But Ms. Schreck had no involvement in the creation of

SITE’s methodology. Causing more confusion, while the report says she is the Team Lead of

Terrorism and Finance, her CV states that she is the Team Lead of Far-Right/Far-Left. Doc. 316.1.

The latter team focuses on the ideologies and activities of domestic and political terrorist groups,

not FTOs or jihadist groups.7




5
 To the extent that Ms. Schreck’s CV inexplicably omitted critical details about her qualifications, such as a purported
“specialization in security studies” or study of “extremist Islam,” this only highlights why a Daubert hearing is
necessary.
6
 The report describes Ms. Katz as “one of the world’s most credible terrorism and extremism experts.” SITE Report
at 3. It is unclear whether she has ever testified as an expert witness. Ms. Schreck has never testified on any subject
and is not regarding as an expert in the field.
7
 SITE focuses on the following areas: Jihadist Threat, Far-Right/Far-Left, Bioterrorism, Southeast Asia, Central Asia,
Finance, Energy, and Tech & Terrorism. SITE INTEL. GRP., https://ent.siteintelgroup.com/ (last visited Jan. 7, 2022);
Far-Right/Far-Left, SITE INTEL. GRP., https://ent.siteintelgroup.com/Articles/Far-Right-/-Far-Left-Threat/ (last
visited Jan. 7, 2022).

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       Ms. Giampietro does not doubt that Ms. Schreck has more knowledge than the average

person about International Relations, various foreign languages, the Middle East, and the Syrian

Revolt of 1925. But Ms. Schreck’s education and experience do not appear to provide a sufficient

foundation to qualify her as an expert in this case. Ms. Giampietro requests a Daubert hearing.

                                         RELIABILITY

       The government submitted the SITE Report a few days before it filed the opposition. The

report describes SITE’s methodology as follows: “follow, collect, save, and analyze terrorist and

extremist online content through targeted and mapped navigation of networks using human

intelligence, rather than through artificial intelligence or randomly aimed cold searches on the

Internet.” SITE Report at 3. Basically, SITE analysts review the online activity of groups and

individuals that SITE and/or the analyst deems as “terrorism and/or violent extremism.” Id. The

methodology described in the SITE Report raises several questions regarding reliability. For

example, it does not explain its “selection criteria,” nor does it describe the method for “targeted

and mapped navigation of networks using human intelligence.” Id. It does not explain how it

ensures that its analysts have found all relevant content given the vast amount of publicly available

information. It does not explain how it determines whether content or sources are irrelevant or

untrustworthy. It does not explain if the methods used by its analysts to search for and collect

content are capable of repetition with any level of certainty. It does not describe how it accounts

for or attempts to minimize the impact of bias on the part of its “human intelligence.” With the

information the parties and Court have now, it is impossible to know if Ms. Schreck and SITE

have cherry-picked content or whether the report reflects an accurate picture of any individual,

group, or activity. These unanswered questions highlight several reliability concerns and require a

Daubert hearing.



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                Respectfully submitted this 7th day of January, 2022,


                                                                           By: /s/ Charles Swift
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                                  CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 7th day of January, 2022, I electronically filed the

foregoing Defendant’s Reply in Support of Her Motion for a Daubert Hearing Prior to

Admission of Catherine Schreck with the Clerk of the Court using the CM/ECF system which

will send a notice of electronic filing to all counsel of record.



                                                                           By: /s/ Charles Swift
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                                                                           Attorney for Giampietro




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